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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                          BRUNSWICK DIVISION
 PATRICIA KENNEDY,                        :
                                          :
           Plaintiff,                     :
                                          :
 v.                                       :
                                          : Case No: 2:20-cv-49-LGW-BWC
                                          :
                                          :
 OHM SHREE GANISH, INC.,                  :
                                          :
                                          :
           Defendant,                     :

 _______________________________________/

                         PLAINTIFF’S NOTICE OF SETTLEMENT

               Plaintiff, by and through her undersigned counsel, hereby advises the Court that

this case has been settled. The Parties request 15 days within which to submit the documentation

formally concluding this litigation.

               I HEREBY CERTIFY that, on June 26, 2020 I furnished a copy of the foregoing

to: OHM SHREE GANESH, INC., c/o Prem Patel, r/a, 720 S. Lee St., Kingsland, GA 31548.


                                                           /s/Philip Michael Cullen, III
                                                           Fla. Bar No: 167853
                                                            (Admitted Pro Hac Vice)
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cc: Sarah Gulati, Esq (via e-mail)
